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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

 CAPITAL FUNDING, LLC,

           Plaintiff/Counterclaim Defendant,
                                                    C.A. No. 1:24-cv-00857-RGA
           v.

 CRANSTON   APARTMENTS,    LLC, CONSOLIDATED
 MENACHEM TRESS, AND ELIMELECH
 TRESS,

           Defendants/Counterclaim Plaintiffs.

 Capital Funding, LLC,

           Plaintiff/Counterclaim Defendant,
                                                    C.A. No. 1:24-cv-00871-RGA
 v.

 GALLOWAY APARTMENTS GEM, LLC, CONSOLIDATED
 MENACHEM TRESS and ELIMELECH
 TRESS


           Defendants/Counterclaim Plaintiffs.

                     STIPULATION AND [PROPOSED] ORDER
                         DISMISSING THESE ACTIONS

           WHEREAS, on or about June 21, 2024, Plaintiff Capital Funding (“Capital

Funding”) filed three separate and distinct complaints against Defendant Cranston

Apartments LLC (“Cranston”) in the state courts for the State of Delaware.

Specifically, Capital Funding filed its action for the appointment of a receiver in the

Delaware Court of Chancery, and Capital Funding also filed separate actions for in


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rem mortgage foreclosure on the mortgage securing real property located at 3310

and 3314 Old Capital Trail, Wilmington, Delaware 19808 (the “Cranston Property”)

and breach of promissory note in the Delaware Superior Court.

      WHEREAS, on July 23, 2024, Cranston removed all three cases to the U.S.

District Court for the District of Delaware (collectively, the “Cranston Borrower

Actions”), which remain pending at C.A. Nos. 24-857, 24-858, and 24-860.

      WHEREAS, on or about August 23, 2024, Capital Funding filed a complaint

against Menachem Tress and Elimelech Tress (collectively, the “Guarantors”) in the

U.S. District Court for the District of Delaware for breach of the Cranston Guaranty

(the “Cranston Guaranty Action”), which remains pending at: C.A. No. 24-971.

      WHEREAS, on August 27, 2024, the U.S. District Court for the District of

Delaware (the “Court”) consolidated the Cranston Borrower Actions and Cranston

Guaranty Action, which remain pending at C.A. No. 24-857-RGA (the “Cranston

Actions”).

      WHEREAS, on or about June 21, 2024, Capital Funding filed three separate

and distinct complaints against Galloway Apartments GEM LLC (“Galloway”) in

the state courts for the State of Delaware. Specifically, Capital Funding filed its

action for the appointment of a receiver in the Delaware Court of Chancery, and

Capital Funding also filed separate actions for in rem mortgage foreclosure on the

mortgage securing real property at 400 South Dupont Highway, New Castle,


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Delaware 19720 and breach of promissory note in the Delaware Superior Court

(collectively, the “Galloway Borrower Actions”).

      WHEREAS, on or about July 11, 2024, Capital Funding filed a complaint

against the Guarantors in the Delaware Superior Court for breach of the Galloway

Guaranty (the “Galloway Guaranty Action”).

      WHEREAS, on July 30, 2024, Cranston Borrower filed answers in the

Cranston Borrower Actions and asserted counterclaims against Capital Funding (the

“Cranston Borrower Counterclaims”).

      WHEREAS, on July 26, 2024, Galloway removed the Galloway Borrower

Actions and Galloway Guaranty Action to the Court, which remain pending at C.A.

Nos. 24-871, 24-872, 24-874, and 24-875.

      WHEREAS, on August 1, 2024, Galloway Borrower filed answers in the

Galloway Borrower Actions and asserted counterclaims against Capital Funding (the

“Galloway Borrower Counterclaims”).

      WHEREAS, on August 23, 2024, Capital Funding filed an amended

complaint against Menachem Tress and Elimelech Tress in the Galloway Guaranty

Action.

      WHEREAS, on August 27, 2024, the Court consolidated the Galloway

Borrower Actions and Galloway Guaranty Action, which remain pending at C.A.




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No. 24-871-RGA (the “Galloway Actions” and with the Cranston Actions, the

“Actions”).

      WHEREAS, on September 9, 2024, the Guarantors filed an answer in the

Galloway Guaranty Action (the “Galloway Guarantor Answer”).

      WHEREAS, on October 7, 2024, the Guarantors filed an answer in the

Cranston Guaranty Action (the “Cranston Guarantor Answer”; together with the

Cranston Borrower Counterclaims, the Galloway Borrower Counterclaims, and the

Galloway Guarantor Answer, the “Counterclaims”).

      WHEREAS, on October 9, 2024, the Court having conducted an initial Rule

16(b) scheduling conference, entered that certain Scheduling Order in the Cranston

Actions at D.I. 31 and in the Galloway Actions at D.I. 32 (together, the “Scheduling

Orders”).

      WHEREAS, on December 20, 2024, the Parties entered into a forbearance

agreement (the “Forbearance Agreement”) pursuant to which, the Parties agreed,

among other things, that Defendants would satisfy the amounts owed to Capital

Funding and to dismiss, subject to this Court’s approval, the Actions in their entirety

without prejudice.

      IT IS HEREBY STIPULATED AND AGREED, by and between the

undersigned counsel for the Parties, subject to the Court’s approval, that:

       1.     Capital Funding’s claims brought forth in the Actions are dismissed


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without prejudice, subject to Capital Funding’s right to reinstate the Actions in the

event of breach of the Forbearance Agreement or otherwise.

      2.     Cranston’s answer, affirmative defenses, and counterclaims filed in

C.A. No. 24-857-RGA [D.I. 7] is hereby amended so that the allegations in the note

complaint are admitted by Cranston, and the affirmative defenses and counterclaims

are dismissed with prejudice.

      3.     Cranston’s answer, affirmative defenses, and counterclaims filed in

C.A. No. 24-858-RGA [D.I. 7] is hereby amended so that the allegations in the

foreclosure complaint are admitted by Cranston, and the affirmative defenses and

counterclaims are dismissed with prejudice.

      4.     The Guarantors’ answer and affirmative defenses filed in C.A. No. 24-

857-RGA [D.I. 29] is hereby amended so that the allegations in the guaranty

complaint are admitted, and the affirmative defenses are dismissed with prejudice.

      5.     Galloway’s answer, affirmative defenses, and counterclaims filed in

C.A. No. 24-872-RGA [D.I. 8] is hereby amended so that the allegations in the note

complaint are admitted by Galloway, and the affirmative defenses and counterclaims

are dismissed with prejudice.

      6.     Galloway’s answer, affirmative defenses, and counterclaims filed in

C.A. No. 24-874-RGA [D.I. 8] is hereby amended so that the allegations in the

foreclosure complaint are admitted by Galloway, and the affirmative defenses and


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counterclaims are dismissed with prejudice.

      7.    The Guarantors’ answer and affirmative defenses filed in C.A. No. 24-

871-RGA [D.I. 22] is hereby amended so that the allegations in the guaranty

complaint are admitted, and the affirmative defenses are dismissed with prejudice.




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 BENESCH, FRIEDLANDER,                 CHIPMAN BROWN CICERO & COLE,
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 Attorneys for Capital Funding, LLC    Attorneys for Defendants Cranston
                                       Apartments LLC, Galloway Apartments
                                       GEM, LLC, Menachem Tress, and
                                       Elimelech Tress

                 30th           December
SO ORDERED this ______ day of ______________, 2024.


                               /s/ Richard G. Andrews
                              _______________________________________
                              THE HONORABLE RICHARD G. ANDREWS




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